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12                                    UNITED STATES DISTRICT COURT
13                                   NORTHERN DISTRICT OF CALIFORNIA
14                                          SAN JOSE DIVISION
15

16   In re Ex Parte Application of                   CASE NO. 5:23-MC-80015
17   FREDRIC N. ESHELMAN,
                                                     DR. ESHELMAN’S MEMORANDUM OF LAW
18   Applicant,                                      IN SUPPORT OF EX PARTE APPLICATION
                                                     FOR AN ORDER PURSUANT TO 28 U.S.C.
19   For an Order Pursuant to 28 U.S.C. § 1782       § 1782 GRANTING LEAVE TO OBTAIN
     Granting Leave to Obtain Discovery for Use in   DISCOVERY FOR USE IN FOREIGN
20   Foreign Proceedings.                            PROCEEDINGS
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 1                                             INTRODUCTION

 2          As a last resort, Dr. Fredric N. Eshelman respectfully files this ex parte 1 application

 3 (“Application”) for judicial assistance pursuant to 28 U.S.C. § 1782.           The underlying facts are

 4 straightforward. An unknown person used a pseudonymous email address (terrynewsomee@gmail.com)

 5 to falsely accuse Dr. Eshelman of “abus[ing] police resources” after four interlopers trespassed on his

 6 Wyoming ranch. The email was published to various of Dr. Eshelman’s contacts, including companies

 7 and their representatives based in Germany and India. Dr. Eshelman has repeatedly attempted to

 8 determine the identity of the publisher, to no avail. Through this Application, Dr. Eshelman seeks

 9 discovery from Google to obtain identifying information (specifically, IP addresses, cellular phone

10 numbers, and names) associated with the pseudonymous email account to support contemplated

11 defamation litigation in Germany and India (the “Foreign Litigation”).

12          As demonstrated in detail below, Dr. Eshelman meets each of the statutory and discretionary

13 factors routinely considered by this Court in determining whether to grant relief under Section 1782.

14 Indeed, the tribunal handling Dr. Eshelman’s defamation claims will be receptive to any extraterritorial

15 discovery obtained by Dr. Eshelman—precisely the circumstance Section 1782 was designed to assist.

16 Accordingly, the Application should be granted.

17                                    STATEMENT OF JURISDICTION

18          Pursuant to Civil L.R. 3-5, Dr. Eshelman submits the following statement of jurisdiction:

19          A.       Jurisdiction.

20          The District Court has jurisdiction over this petition under 28 U.S.C. § 1782. Dr. Eshelman intends

21 to litigate defamation claims against Doe based on Doe’s false and defamatory allegation that

22 Dr. Eshelman violated the law by “abus[ing] police resources.” Doe published these statements in Ger-

23 many and India to two companies: Carbon3D and 6 Degrees PR. Dr. Eshelman requires discovery to

24          1
              This Court routinely entertains ex parte applications pursuant to Section 1782. “Applications
25 brought pursuant to 28 U.S.C. § 1782 typically are considered on an ex parte basis, since ‘parties will be
   given adequate notice of any discovery taken pursuant to the request and will then have the opportunity
26 to move to quash the discovery or to participate in it.’” In re Apple Retail UK Ltd., No. 20-mc-80109,
   2020 WL 3833392, at *2 (N.D. Cal. July 8, 2020) (quoting IPCom GMBH & Co. KG v. Apple Inc., 61 F.
27 Supp. 3d 919, 922 (N.D. Cal. 2014)); see also In re Republic of Ecuador, No. 10-mc-80225, 2010 WL
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 1 third-party Google to obtain information identifying Doe to support the Foreign Litigation. Google resides

 2 in the Northern District of California.

 3          B.     Divisional Assignment.

 4          Pursuant to Civil L.R. 3-2(c), assignment to the San Jose Division is appropriate because Google

 5 is headquartered in Santa Clara County.

 6                                       FACTUAL BACKGROUND

 7                 Dr. Eshelman’s Strong Reputation as a Leader in the Biotech and Pharmaceutical
                   Industries Exposes Him to Harassment and Defamatory Remarks.
 8

 9          Dr. Eshelman has worked hard over decades to earn his reputation as a leader in the pharmaceutical

10 industry. Dr. Eshelman earned his Doctor of Pharmacy from the University of Cincinnati and earned a

11 Bachelor of Science from the University of North Carolina. Eshelman Decl. ¶ 2. He is also a graduate

12 of the Owner/President Management program at Harvard Business School. Id. at ¶ 2. Dr. Eshelman went

13 on to found, and was formerly the CEO of, Pharmaceutical Product Development, a research organization

14 providing drug discovery, development, and lifecycle management services. Id. at ¶ 3. Dr. Eshelman also

15 founded Eshelman Ventures, LLC, an investment company primarily invested in healthcare companies.

16 Id. at ¶ 4. Dr. Eshelman has served on the Board of Directors for many pharmaceutical companies and is

17 a major philanthropist, having given over $140 million to charitable causes. Id. at ¶ 5.

18          On December 4, 2022, Doe used the pseudonymous email address terrynewsomee@gmail.com to

19 send a defamatory email about Dr. Eshelman to several of his closest business associates and professional

20 contacts at leading pharmaceutical and technology companies. Id. at ¶ 6. Doe wrote “I am seeking to

21 inform each of your companies that you should willingly cease partnerships and activities with Eshelman

22 Ventures,” going on to explain that “Fred Eshelman is a piece of shit.” Id. at Ex. 1. Doe then made the

23 following defamatory and untrue remark: “he abused police resources by repeatedly sending game

24 wardens and officers after hunters that were ‘corner crossing’ into public land.” Id. at Ex. 1. This is

25 blatantly false—Dr. Eshelman has never “abused police resources” for any purpose. Id. at ¶ 8. To the

26 contrary, Dr. Eshelman only contacted authorities after learning that three individuals had trespassed onto

27 his private Wyoming property, Elk Mountain Ranch, information that Doe had access to as it is public

28 record. Id.
                                                        2
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 1          Doe did not stop there. They then emailed Eshelman Ventures via its contact form and left a

 2 voicemail (using a phone number, that, when searched, appears to belong to a deceased individual). Id.

 3 at ¶ 9; Watkins Decl. ¶ 6. Doe’s “message” for Dr. Eshelman was: “you’re a piece of shit and there is no

 4 place in heaven for people like you. Fuck you and your family.” Eshelman Decl. Ex. 2.

 5                 Dr. Eshelman Sends Doe a Cease-and-Desist Letter.

 6          On December 7, 2022, Dr. Eshelman, through counsel, sent a cease-and-desist letter to Doe at the

 7 pseudonymous email address. Watkins Decl. ¶ 5. The letter informed Doe that their statements were

 8 defamatory per se and blatantly false and that Doe had irreparably harmed Dr. Eshelman by publishing

 9 them. Id. at Ex. 2. The letter also informed Doe that they had exposed themself to significant legal risk

10 by making their false allegations and demanded that Doe cease and desist making any further such

11 statements. Id. The letter closed with the warning that Dr. Eshelman intended to pursue defamation claims

12 against Doe after unmasking Doe’s identity. Id.

13                 This Application Seeks Evidence Necessary for Dr. Eshelman to Proceed with Legal
                   Action in Germany and India Against Doe.
14

15          Dr. Eshelman intends to litigate defamation claims against Doe based on Doe’s false and

16 defamatory allegation that Dr. Eshelman violated the law by “abus[ing] police resources.” Doe published

17 these statements in Germany and India to a digital technology company called Carbon3D and a company

18 called 6 Degrees PR. Eshelman Decl. ¶ 6. In addition, Dr. Eshelman has exhausted the means available

19 to him to ascertain Doe’s true identity. Counsel conducted a search of the cell phone number that Doe

20 used to send the above-mentioned harassing voicemail to Dr. Eshelman, but the number came back as

21 belonging to a deceased individual. Watkins Decl. ¶ 6. Furthermore, “Terry Newsome” does not come

22 back as a search result for the geographic area associated with that number. A search for a person by the

23 name Terry Newsome is unhelpful, considering the commonality of the name, the likelihood of it being a

24 pseudonym to mask the emailer’s true identity, and the lack of other identifying characteristics that might

25 help Dr. Eshelman ascertain the correct individual.        Thus, Dr. Eshelman must obtain identifying

26 information to commence the Foreign Litigation. Because Google is the only entity that holds this

27 information, third-party discovery to Google is necessary. As explained below, the Court should grant

28 Dr. Eshelman’s Application.
                                                        3
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                                                    ARGUMENT
 1
     I.      28 U.S.C. § 1782 Broadly Allows Discovery in Aid of Foreign Proceedings.
 2
             28 U.S.C. § 1782 “is the product of congressional efforts, over the span of nearly 150 years, to
 3
     provide federal-court assistance in gathering evidence for use in foreign tribunals.” Intel Corp. v.
 4
     Advanced Micro Devices, Inc., 542 U.S. 241, 247 (2004). And over time, Congress has consistently and
 5
     “substantially broadened the scope of assistance federal courts could provide for foreign proceedings.”
 6
     Id. at 247-48.
 7
             As relevant here, Section 1782 provides:
 8
             The district court of the district in which a person resides or is found may order him to give
 9           his testimony or statement or to produce a document or other thing for use in a proceeding
10           in a foreign or international tribunal.... The order may be made ... upon the application of
             any interested person and may direct that the testimony or statement be given, or the
11           document or other thing be produced[.]

12 28 U.S.C. § 1782(a). Thus, Section 1782 authorizes federal courts to grant an application for discovery if

13 three statutory requirements are satisfied: (1) the person from whom discovery is sought resides or is found

14 in the district of the district court where the application is made; (2) the discovery is for use in a proceeding

15 before a foreign tribunal; and (3) the application is made by an interested person. Id.; In re Republic of

16 Ecuador, No. 10-mc-80225, 2010 WL 3702427, at *2 (N.D. Cal. Sept. 15, 2010). “Once those three

17 statutory requirements are met, a district court has wide discretion to grant discovery under [Section]

18 1782.” HRC-Hainan Holding Co., LLC v. Yihan Hu, No. 19-mc-80277, 2020 WL 906719, at *3 (N.D.

19 Cal. Feb. 25, 2020).

20           In exercising its discretion to grant discovery, district courts consider the four Intel factors: (1)

21 whether the person from whom discovery is sought is a participant in the foreign proceeding; (2) the nature

22 of the foreign tribunal, the character of the proceedings abroad, and the receptivity of the foreign

23 government to U.S. federal court judicial assistance; (3) whether the request conceals an attempt to

24 circumvent foreign proof-gathering restrictions or other policies of a foreign country or the United States;

25 and (4) whether the request is unduly burdensome. Intel, 542 U.S. at 264-65.

26           As explained below, because Dr. Eshelman’s Application easily satisfies all three statutory Section

27 1782 requirements, and all four discretionary factors, the Court should grant Dr. Eshelman’s Application

28 for limited discovery.
                                                           4
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     II.    Dr. Eshelman’s Application Easily Satisfies Section 1782’s Statutory Requirements.
 1
            Dr. Eshelman’s Application for a narrow subpoena to Google easily satisfies Section 1782’s three
 2
     statutory requirements.
 3
            First, Google resides or is found in this district because it is headquartered and has its principal
 4
     offices in Mountain View, California, which is in this district. Under settled law, “[a] business entity is
 5
     ‘found’ in the judicial district where it has its principal place of business.” E.g., HRC-Hainan Holding,
 6
     2020 WL 906719, at *3; In re Med. Corp. Seishinkai, No. 21-MC-80160-SVK, 2021 WL 3514072, at *2
 7
     (N.D. Cal. Aug. 10, 2021) (authorizing discovery from Google under Section 1782 and recognizing that
 8
     Google is located in the Northern District of California); In re Application of Rainsy, No. 16-mc-80258,
 9
     2017 WL 528476, at *2 (N.D. Cal. Feb. 9, 2017).
10
            Second, Dr. Eshelman’s Application seeks discovery for use in a proceeding before a foreign
11
     tribunal, namely, courts in Germany and India. As the Supreme Court has explained, the requisite foreign
12
     proceeding “need not be ‘pending’ or ‘imminent,’” rather, “the ‘proceeding’ for which discovery is sought
13
     under § 1782(a)” need only be “in reasonable contemplation.” Intel, 542 U.S. at 247; accord In re Yasuda,
14
     No. 19-mc-80156, 2020 WL 759404, at *4 (N.D. Cal. Feb. 14, 2020). Indeed, discovery under § 1782(a)
15
     has been held to be proper even when an applicant’s complaint is only in the investigative stage. Id. Here,
16
     as described above, Dr. Eshelman has retained defamation counsel to vindicate his rights and file suit
17
     against the individual behind the defamatory messages after obtaining discovery from Google revealing
18
     the identity of Doe. Eshelman Decl. ¶ 10. As such, Dr. Eshelman’s defamation action is “in reasonable
19
     contemplation” and this requirement is satisfied.
20
            Third, Dr. Eshelman, as the plaintiff in the foreign action, qualifies as an “interested party” entitled
21
     to seek discovery under Section 1782. As the Supreme Court has explained, “[n]o doubt litigants are
22
     included among, and may be the most common example of, the ‘interested person[s]’ who may invoke
23
     § 1782.” Intel, 542 U.S. at 256; see also Akebia Therapeutics, Inc. v. FibroGen, Inc., 793 F.3d 1108, 1110
24
     (9th Cir. 2015) (“An ‘interested person’ seeking to invoke the discovery mechanism set forth under § 1782
25
     may include ‘not only litigants before foreign or international tribunals, but also ... any other person [who]
26
     ... merely possess[es] a reasonable interest in obtaining [judicial] assistance.’” (quoting Intel, 542 U.S. at
27
     256-57)).
28
                                                           5
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     III.   The Discretionary Intel Factors Demonstrate That the Court Should Grant Dr. Eshelman’s
 1          Application.
 2                  The First Intel Factor Is Satisfied: Google Is Not a Party to the Foreign Proceeding,
                    Thus the Foreign Proceeding Cannot Compel Google to Provide Discovery.
 3
            The first Intel factor favors discovery in this case because Google is not involved in the foreign
 4
     proceeding. As the Supreme Court has explained, “nonparticipants in [a] foreign proceeding may be
 5
     outside the foreign tribunal’s jurisdictional reach; hence, their evidence, available in the United States,
 6
     may be unobtainable absent § 1782(a) aid.” Intel, 542 U.S. at 264; see also, e.g., London v. Does, 279 F.
 7
     App’x 513, 515 (9th Cir. 2008) (granting application; explaining that “[a]bsent this [Section 1782]
 8
     discovery, the evidence sought may be unattainable in the [foreign] court while it is within the district
 9
     court’s jurisdiction and accessible in the United States”); In re Ex Parte Motorola Mobility, LLC, No. 12-
10
     cv-80243, 2012 WL 4936609, at *2 (N.D. Cal. Oct. 17, 2012) (same); In re Application for Appointment
11
     of a Comm’r re Request for Judicial Assistance for the Issuance of Subpoena Pursuant to 28 U.S.C. 1782,
12
     No. 11-cv-80136, 2011 WL 2747302, at *5 (N.D. Cal. July 13, 2011).
13
            Here, Google is not a party to the Foreign Litigation, and it will not participate in those
14
     proceedings. As such, the foreign courts are unable to compel Google (a U.S. corporation) to produce
15
     discovery, rendering this Application the only mechanism through which Dr. Eshelman can obtain the
16
     necessary information. This factor thus weighs heavily in favor of granting Dr. Eshelman’s Application.
17
                    The Second Intel Factor Is Satisfied: Courts in Germany and India Will Accept, Not
18                  Reject, Assistance from Discovery Under Section 1782.
19          The second Intel factor—the nature of the foreign tribunal, the character of the proceedings abroad,

20 and the receptivity of the foreign government to U.S. federal court judicial assistance—weighs in favor of

21 discovery when there is no “‘authoritative proof that a foreign tribunal would reject evidence obtained

22 with the aid of Section 1782.’” Siemens AG v. W. Digital Corp., No. 13-cv-1407, 2013 WL 5947973, at

23 *3 (C.D. Cal. Nov. 4, 2013); accord In re Apple Retail UK Limited, No. 20-mc-80109, 2020 WL 3833392,

24 at *3 (N.D. Cal. July 8, 2020). In evaluating this factor, courts must “err on the side of permitting

25 discovery.” In re Varian Med. Sys. Int’l AG, No. 16-mc-80048, 2016 WL 1161568, at *4 (N.D. Cal. Mar.

26 24, 2016) (citing Heraeus Kulzer, GmbH v. Biomet, Inc., 633 F.3d 591, 597 (7th Cir. 2011)) (reversing

27 denial of Section 1782 application because “there is nothing to suggest that the German court would be

28 affronted by [plaintiff’s] recourse to U.S. discovery or would refuse to admit any evidence”).
                                                         6
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 1          Notably, courts in the Ninth Circuit have routinely allowed applicants to obtain third-party Section

 2 1782 discovery related to contemplated litigation in Germany. See, e.g., Varian Med. Sys. Int’l AG, 2016

 3 WL 1161568 at *5; Cryolife, Inc. v. Tenaxis Med., Inc., No. C08-05124 HRL, 2009 WL 88348, at *3

 4 (N.D. Cal. Jan. 13, 2009) (“This court finds no basis to conclude that the German court would be

 5 unreceptive to the information requested by [Applicant].”); Palantir Techs., Inc. v. Abramowitz, 415 F.

 6 Supp. 3d 907, 915 (N.D. Cal. 2019).

 7          The second Intel factor, too, weighs heavily in favor of granting Dr. Eshelman’s Application

 8 because there is no “authoritative evidence” that the courts in Germany or India would reject such

 9 evidence.

10                 The Third Intel Factor Is Satisfied: Dr. Eshelman’s Request Does Not Attempt to
                   Circumvent Foreign Proof-Gathering Restrictions.
11

12          The third Intel factor weighs in favor of discovery because Dr. Eshelman’s Application does not

13 “conceal[] an attempt to circumvent foreign proof-gathering restrictions or other policies of a foreign

14 country or the United States.” Intel, 542 U.S. at 264-65; Motorola Mobility, 2012 WL 4936609 at *2;

15 Varian Med. Sys. Int’l AG, 2016 WL 1161568 at *5. Indeed, absent a bad faith attempt to undermine such

16 restrictions or policies, this factor weighs in favor of allowing discovery even if the documents sought

17 would not be discoverable in the foreign jurisdiction. Intel, 542 U.S. at 260-63.

18          Here, Dr. Eshelman is not aware of any restrictions on proof-gathering procedures in Germany or

19 India that would prohibit obtaining the discovery he seeks through his Application. To the contrary, as

20 noted above, U.S. courts have routinely granted applications under Section 1782 to obtain discovery of

21 evidence for use in these types of foreign proceedings. See, e.g., Motorola Mobility, 2012 WL 4936609

22 at *2 (“There is nothing to suggest that [Applicant’s] Section 1782 request is an attempt to circumvent

23 German restrictions on discovery in civil proceedings.”); Varian Med. Sys. Int’l AG, 2016 WL 1161568

24 at *5; Cryolife, Inc., No. C08-05124 HRL, 2009 WL 88348, at *3. Simply put, there is no indication that

25 any policy of Germany, India, or the U.S. would weigh against the discovery sought by Dr. Eshelman.

26 Accordingly, the third Intel factor weighs heavily in favor of granting Dr. Eshelman’s Application.

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                    The Fourth Intel Factor Is Satisfied: Dr. Eshelman’s Request Is Not Unduly
 1                  Burdensome.
 2          The fourth Intel factor is satisfied if an applicant’s discovery request is not “unduly intrusive or

 3 burdensome,” Intel, 542 U.S. at 265, as “determined by the Federal Rules of Civil Procedure,” In re

 4 Application of Joint Stock Co. Raiffeinsenbank, No. 16-mc-80203, 2016 WL 6474224, at *6 (N.D. Cal.

 5 Nov. 2, 2016) (citing In re Letters Rogatory From Tokyo Dist. Prosecutor’s Office, 16 F.3d 1016, 1019

 6 (9th Cir. 1994)). Under the applicable ordinary discovery rules, “discovery ‘is permitted if reasonably

 7 calculated to lead to the discovery of admissible evidence.’” HRC-Hainan Holding Co., 2020 WL 906719,

 8 at *3 (quoting Franklin v. Madden, 586 F. App’x 431, 432 (9th Cir. 2014)).

 9          Critically, as relevant here, courts have repeatedly held that this factor weighs in favor of granting

10 a Section 1782 application where the applicant seeks discovery from the operator of a website or server—

11 including Google—to reveal the identity of a person who used that website or server to infringe the

12 applicant’s rights. See, e.g., In re Med. Corp. Seishinkai, No. 21-MC-80160-SVK, 2021 WL 3514072, at

13 *5 (granting application for discovery from Google as “the subpoena only seeks disclosure of names,

14 telephone numbers, and addresses of the person(s) whose credit card and bank account is associated with

15 each of the accounts and does not seek disclosure of credit card numbers or any other sensitive

16 information”); In re Hattori, No. 21-MC-80236-TSH, 2021 WL 4804375, at *5 (N.D. Cal. Oct. 14, 2021)

17 (compelling Google to produce identifying information “such as names, addresses, telephone numbers,

18 and e-mail addresses, or information that will lead to the discovery of personal identifying information

19 such as access log for very limited periods of time,” as such discovery “is stored by Google in the ordinary

20 course of business” and is therefore “not unduly intrusive or burdensome”).

21          Here, Dr. Eshelman’s Application seeks narrow discovery from Google: (1) documents sufficient

22 to show the identity of or identifying information about Doe, who owns the pseudonymous email address

23 used to send the defamatory allegation about Dr. Eshelman; and (2) a one-hour deposition whereby its

24 corporate representative can authenticate said records. Based on Google’s protocols, Dr. Eshelman

25 expects Google to possess the phone number(s) and IP address(es) associated with the pseudonymous

26 account. This information will provide necessary identifiers that will allow Dr. Eshelman to locate Doe

27 before proceeding with the Foreign Litigation.

28          Therefore, this information is not only relevant but absolutely necessary for Dr. Eshelman’s future
                                                          8
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 1 cases in Germany and/or India. Further, Dr. Eshelman’s Application does not broadly seek Google’s

 2 communications but only documents sufficient to show the identity of Doe. Such requests are routinely

 3 approved as not unduly burdensome. See, e.g., In re Hattori, No. 21-MC-80236-TSH, 2021 WL 4804375,

 4 at *5; In re Apple Retail UK Limited, 2020 WL 3833392, at *4. 2 Dr. Eshelman has also exhausted his

 5 ability to identify Doe. As mentioned above, Dr. Eshelman has attempted to discover Doe’s true identity

 6 using Doe’s email, pseudonym, and cellular phone number, but those searches were unfruitful. Dr.

 7 Eshelman will not be able to discover anything further without reviewing Google’s information about

 8 Doe.

 9          Moreover, Dr. Eshelman’s Application is not unduly burdensome considering the pending

10 litigation. Doe’s statement towards Dr. Eshelman was defamatory per se as it accused Dr. Eshelman of a

11 crime: “abusing police resources.” 3 In order to bring a claim of defamation 4 and restore his reputation, it

12 is essential that Dr. Eshelman know the true identity of the person that defamed him. The discovery that

13 Dr. Eshelman is requesting is minimal in comparison to the relief that it might afford him.

14                                                CONCLUSION

15          For the foregoing reasons, Dr. Eshelman respectfully requests that the Court grant his Application

16 and issue an Order authorizing the issuance of the subpoenas attached to the Application as Exhibits A

17 and B.

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21             Dr. Eshelman’s counsel will, of course, meet and confer with Google’s counsel to discuss ways
     to obtain this discovery as efficiently and with as little burden as possible.
22           3
               See Barnes-Hind, Inc. v. Superior Ct., 181 Cal. App. 3d 377, 385, 226 Cal. Rptr. 354, 358 (Ct.
     App. 1986) (“Perhaps the clearest example of libel per se is an accusation of crime”).
23           4
               In India, in order to make out a claim for civil defamation, one must prove three things: “that the
24   words, pictures, gestures, etc. are defamatory; … that [the defamatory words] refer to [the plaintiff]; …
     [and]      that      [the     defamatory      words]       were     maliciously    published.”           See
25   https://www.indialawoffices.com/knowledge-centre/defamation. Suit may be filed wherever the
     defamatory statement was published. Id.; see also https://aggarwalsandassociates.com/defamation-law-
26   in-india/. In Germany, one can bring a private criminal prosecution for defamation in accordance with
     Section 374 German Criminal Procedure Code. Under German law, defamation is defined as an instance
27   when someone “despite knowing better, asserts or disseminates an untrue fact about another person which
     is suited to degrading that person or negatively affecting public opinion about that person or endangering
28   said person’s creditworthiness.” § 187 German Criminal Procedure Code.
                                                            9
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 1 DATED: January 13, 2023                      Respectfully submitted,

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